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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )                 4:03CR3014-5
                   Plaintiff,           )
                                        )
             v.                         )
                                        )                MEMORANDUM
CHRISTOPHER GANT,                       )                 AND ORDER
                                        )
                   Defendant.           )

      The defendant has filed or tendered for filing a motion that I construe as
seeking a reduction of sentence pursuant to the retroactive amendments to the “crack”
Guidelines. The Court has developed procedures to deal with such a motion.
Therefore,

1.    No later than September 18, 2008, the probation office shall provide the
      undersigned and counsel of record with a “Retroactive Sentencing Worksheet.”
      If the officer requires additional time, a request may be made to the
      undersigned by e-mail. The Clerk’s office shall provide the Probation Office
      with a copy of this order.

2.    No later than October 3, 2008, counsel of record shall confer and do one of the
      following:

      A.     File a stipulation containing the following provisions: (i) an
             agreement that the defendant is eligible for a sentence reduction
             pursuant to 18 U.S.C. § 3582(c) and U.S.S.G. § 1B1.10; (ii) an
             agreement that the defendant may be resentenced without being
             present and without further notice and (iii) an agreement
             regarding the recommended sentence.
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      B.    In lieu of the stipulation provided in paragraph A, counsel for the
            government shall contact my judicial assistant and arrange a
            telephone conference with the undersigned and counsel for the
            defendant so that further progression of this case may be
            scheduled.

      August 4, 2008.                 BY THE COURT:

                                      s/Richard G. Kopf
                                      United States District Judge




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